    Case 2:24-cv-00107-KS-BWR       Document 83     Filed 07/15/25   Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF MISSISSIPPI
                          EASTERN DIVISION

LATASHA HILL,                     )
                                  )
      Plaintiff,                  ) CASE NO.: 2:24-cv-107-KS-BWR
 vs.                              )
                                  ) Removed from Circuit Court of
 AUTO CLUB FAMILY                 ) Forrest County, Mississippi
 INSURANCE COMPANY,               ) Civil Action No: 24-90
                                  )
      Defendant.                  )
__________________________________________________________________
                       NOTICE OF SERVICE
__________________________________________________________________
      COMES NOW the Defendant, Auto Club Family Insurance Company ("Auto

Club" or "Defendant"), and pursuant to Federal Rules of Civil Procedure, served the

Plaintiff with a copy of the following on July 14, 2025:

      Auto Club Insurance Company’s Responses to Plaintiff’s First Request
      for Production of Documents.
      Respectfully submitted this the 15th day of July, 2025.


                                             s/ Priscilla K. Williams
                                             Priscilla K. Williams
                                             Attorney for Defendant
OF COUNSEL:
CHRISTIAN & SMALL LLP
505 20th Street North, Suite 1800
Birmingham, Alabama 35203
Phone: (205) 795-6588
Facsimile: (205) 328-7234
Email: PKW@csattorneys.com


                                         1
    Case 2:24-cv-00107-KS-BWR       Document 83      Filed 07/15/25   Page 2 of 2




                         CERTIFICATE OF SERVICE


      I hereby certify that I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to the
following; and I hereby certify that I have mailed by United States Postal Service
the document to any non-CM/ECF participants, on this the 15th day of July, 2025.

      Ms. Latasha Hill
      8 Annie Christie Drive
      Hattiesburg, MS 39401


                                       /s/ Priscilla K. Williams
                                       OF COUNSEL




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